 Case 3:16-cv-00962-M Document 149 Filed 08/10/18                    Page 1 of 3 PageID 15888



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NOTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 ZITOVAULT, LLC,                                   §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §         Civil Action No. 3:16-CV-00962-M
                                                   §
 INTERNATIONAL BUSINESS                            §
 MACHINES CORPORATION and                          §            JURY TRIAL DEMANDED
 SOFTLAYER TECHNOLOGIES, INC.                      §
                                                   §
          Defendants.                              §
                                                   §
                                                   §


                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff ZitoVault, LLC and

Defendants International Business Machines Corp. and SoftLayer Technologies, Inc. hereby

stipulate as follows:

      1. ZitoVault, LLC has entered into a binding settlement agreement with International

      Business Machines Corporation and SoftLayer Technologies, Inc. concerning this legal

      action that resolves all matters, controversies, and claims made by and between all the

      parties in this legal action.

      2. ZitoVault, LLC’s claims are dismissed with prejudice.

      3. All defenses and counterclaims of International Business Machines Corporation and

      SoftLayer Technologies, Inc. are dismissed with prejudice.

      4. Pursuant to that agreement, each party is to bear its own costs and attorneys’ fees with

      respect to this legal action and the entry of this Stipulation and Order of Dismissal with



                                                  1
 Case 3:16-cv-00962-M Document 149 Filed 08/10/18               Page 2 of 3 PageID 15889


    Prejudice.

    5. The Court may enter an Order adopting this Stipulation of Dismissal (With Prejudice) as

    the Order of the Court.



Dated: August 10, 2018                             Respectfully submitted,

                                                   CALDWELL CASSADY & CURRY P.C.

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                                              2
 Case 3:16-cv-00962-M Document 149 Filed 08/10/18                Page 3 of 3 PageID 15890


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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document instrument was filed electronically

in compliance with Local Rule 5.1(d). As such, this document was served on all counsel who are

registered users of ECF on this 10th day of August, 2018.

                                             /s/ Jason D. Cassady
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                                                3
